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IN THE UNITED STATES DISTRICT COURT 129
FOR THE WESTERN DISTRICT OF TENNESSEE ash <9~:/
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)
vs. ) cr. No. 01-10031-T_An
)
sHARN RAYNARD MILAN, )
)
Defendant. )

 

ORDER DENYING MOTION TO WITHDRAW
AND DENYING MOTION TO CONTINUE SETTING DATE

 

On February 17, 2005, the Sixth Circuit Court of Appeals vacated the judgment of
this court as to Sharn Milan and remanded the case for re-sentencing. The re-sentencing
date has been set for May 18, 2005. Defense counsel Robert C. Brooks, who was appointed
to represent Defendant pursuant to the Criminal Justice Act, has moved to withdraw from
further representation on the grounds that (l) his practice is now limited to direct appeals
and (2) he has “prior obligations” that prevent his appearing in this court on behalf of
Defendant. The motion to withdraw is DENIED. Limiting a legal practice to direct appeals
is not a choice under the Criminal Justice Act.

The Government has moved to continue the date of the re-sentencing on the ground
that the Department of Justice has filed a petition for a rehearing en banc. The Government

asks the court to remove the re-sentencing from the court’s calendar until all proceedings

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with Hute 55 andlor 32(b) FRCrP on 5 361 §

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before the Court of Appeals have been concluded The motion to continue is DENIED as
premature The appellate proceedings may be concluded by May 18, 2005. If not, the
Government can renew its motion closer to that date.

IT IS SO ORDERED.

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JA S D. TODD
TED STATES DISTRICT JUDGE

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UNITED `sETAT DISTRIC COURT - WESERNT D's'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 396 in
case l:OI-CR-1003l was distributed by faX, mail, or direct printing on
April 25, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

